

People v Stewart (2016 NY Slip Op 05821)





People v Stewart


2016 NY Slip Op 05821


Decided on August 17, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 17, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
RUTH C. BALKIN
SYLVIA O. HINDS-RADIX
BETSY BARROS, JJ.


2014-01662
2014-08923

[*1]The People of the State of New York, respondent,
vTyrone Stewart, appellant. (S.C.I. Nos. 571/13, 1591/13)


Seymour W. James, Jr., New York, NY (Elizabeth L. Isaacs and Andrew C. Fine of counsel), for appellant.
Richard A. Brown, District Attorney, Kew Gardens, NY (John M. Castellano, Johnnette Traill, Roni C. Piplani, and Meredith D'Angelo of counsel), for respondent.



DECISION &amp; ORDER
Appeals by the defendant from (1) a judgment of the Supreme Court, Queens County (Chin-Brandt, J.), rendered June 14, 2013, convicting him of criminal possession of stolen property in the fifth degree under Superior Court Information No. 571/13, upon his plea of guilty, and imposing sentence, and (2) a judgment of the same court rendered July 15, 2013, convicting him of attempted criminal possession of stolen property in the third degree under Superior Court Information No. 1591/13, upon his plea of guilty, and imposing sentence.
ORDERED that the judgments are affirmed.
The defendant's contentions regarding the Supreme Court's failure to advise him of the immigration consequences of his pleas of guilty are unpreserved for appellate review, as he failed to raise the issues or move to withdraw his pleas despite indication on the record that he was aware of the immigration consequences of pleading guilty (see People v Peque, 22 NY3d 168, 182-183; People v Balbuena, 123 AD3d 1384, 1385-1386; cf. People v Odle, 134 AD3d 1132, 1133; People v Charles, 117 AD3d 1073, 1074). We decline to reach the issues in the exercise of our interest of justice jurisdiction (see People v Rodriguez, 115 AD3d 884).
RIVERA, J.P., BALKIN, HINDS-RADIX and BARROS, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








